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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  DR. DANIEL HALLER and LONG
  ISLAND SURGICAL PLLC,

                                    Plaintiffs,                      JUDGMENT

                    v.
                                                                     21-CV-7208 (AMD) (AYS)
  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, XAVIER BECERRA, in his official
  capacity as Secretary of Health and Human Services,
  U.S. OFFICE OF PERSONNEL MANAGEMENT,
  KIRAN AHUJA, in her official capacity as Director
  of the U.S. Office of Personnel Management,
  U.S. DEPARTMENT OF LABOR, MARTIN J.
  WALSH, in his official capacity as Secretary of Labor,
  U.S. DEPARTMENT OF THE TREASURY, and
  JANET YELLEN, in her official capacity as
  Secretary of the Treasury,

                                     Defendants.
  ---------------------------------------------------------------X
          A Memorandum, Decision and Order of Honorable Robert M. Levy, United States

 Magistrate Judge, having been filed on August 10, 2022, denying the plaintiffs’ motion for

 preliminary injunction; dismissing the plaintiffs’ Seventh Amendment and takings claims with

 prejudice; and dismissing their due process claim for lack of subject matter jurisdiction without

 prejudice; it is

         ORDERED and ADJUDGED that the plaintiffs’ motion for preliminary injunction is

 denied; that the plaintiffs’ Seventh Amendment and takings claims are dismissed with prejudice;

 and that their due process claim is unripe and is dismissed for lack of subject matter jurisdiction

 without prejudice.
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 Dated: Brooklyn, New York                       Brenna B. Mahoney
        August 11, 2022                          Clerk of Court

                                           By:    /s/Jalitza Poveda
                                                  Deputy Clerk
